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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     SERGIO ESPINOSA
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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )               CR.-S-05-00290
11                                  )
          PLAINTIFF,                )               STIPULATION AND PROPOSED
12                                  )               ORDER TO CONTINUE JUDGMENT
          v.                        )               AND SENTENCE TO
13                                  )               FEBRUARY 5, 2007
     SERGIO ESPINOSA, et al.        )
14                                  )
          DEFENDANTS.               )
15                                  )
     ______________________________)
16
17                          AGREEMENT AND STIPULATION
18         The United States of America, represented by the United States Attorney for
19   the Eastern District of California, by Assistant United States Attorney, Mr.Philip
20   Ferrari, and the defendant, SERGIO ESPINOSA, represented by Mr. James R.
21   Greiner, hereby agree and stipulate that the Judgment and Sentencing of this matter
22   may be continued from Wednesday, December 13, 2006, to Monday, February 5,
23   2007, at 8:30 a.m. in courtroom number 5, on the 14th floor of the United States
24   Courthouse, 501 I Street, before the Honorable United States District Court Judge,
25   William B. Shubb. The Wednesday, December 13, 2006, date may be vacated.
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28                                              1
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 1        It is so agreed and stipulated.
 2
 3                                          McGregor W. Scott
                                            Untied States Attorney
 4   DATED: 12-11-06
 5                                          /s/ Philip A. Ferrari (authorized by telephone
                                            authorization)
 6                                          _____________________________
 7                                          Mr. Philip A. Ferrari
                                            Assistant United States Attorney
 8
 9
     DATED: 12-11-06
10
                                            /s/ James R. Greiner
11                                          _________________________________
12                                          James R. Greiner
                                            Attorney for Sergio Espinosa
13
14
          GOOD CAUSE APPEARING, IT IS SO ORDERED.
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16
17   DATED: December 12, 2006
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